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 9                     IN THE UNITED STATES DISTRICT COURT

10                    FOR THE EASTERN DISTRICT OF CALIFORNIA

11                                SACRAMENTO DIVISION

12

13
     X CORP.,                               2:23-CV-01939-WBS-AC
14
                              Plaintiff, DEFENDANT’S OPPOSITION TO
15                                       MOTION FOR PRELIMINARY
                v.                       INJUNCTION
16
                                            Date:      November 13, 2023
17   ROBERT A. BONTA, ATTORNEY GENERAL      Time:      1:30 p.m.
     OF CALIFORNIA, IN HIS OFFICIAL         Courtroom:     5
18   CAPACITY,                              Judge:     Hon. William B.
                                                       Shubb
19                   Defendant.             Trial Date:    None set
                                            Action Filed: 9/08/2023
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 1                                  INTRODUCTION

 2        Plaintiff seeks to preliminarily enjoin California Assembly

 3   Bill (“AB”) 587, a straightforward disclosure statute that

 4   requires social media companies with annual gross revenues of at

 5   least $100 million to publicly disclose information about their

 6   content-moderation policies and decisions, i.e., whether and how

 7   they take action against content and users that violate their

 8   terms of service.     The statute is intended to provide

 9   transparency to Californians who consume and disseminate news and

10   information on social media.       Notwithstanding Plaintiff’s

11   representations, the statute does not dictate either the

12   substantive content of any platform’s terms of service or the

13   manner in which those terms must be enforced.           Plaintiff’s motion

14   for preliminary injunction should be denied.

15        Plaintiff has failed to show that it is likely to succeed on

16   the merits of any claim.      Plaintiff’s First Amendment challenge

17   fails because the statute meets the applicable Zauderer test for

18   compelled speech in a commercial context: the law only requires

19   covered social media companies make purely factual disclosures

20   about their voluntary, existing content moderation policies and

21   practices.     Plaintiff argues that these requirements are somehow

22   improper and subject to higher scrutiny because they may result

23   in public pressure on Plaintiff to change its terms or service or

24   content moderation practices.       That concern does not take the law

25   outside the scope of Zauderer, which often applies when companies

26   would prefer not to disclose certain facts about their products

27   or services.    AB 587 would, in any event, satisfy a higher level

28   of scrutiny.    It serves the essential state interest of
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 1   maintaining an informed, enfranchised, and safe populace by

 2   providing Californians with information necessary to navigate

 3   among the disinformation, threats, and hate speech on social

 4   media.   And, while other states have attempted to impose

 5   particular content moderation practices on social media

 6   companies, because AB 587 is merely a disclosure statute, its

 7   burdens are minimal.

 8        Plaintiff also cannot prevail on its claim that SB 587 is

 9   preempted by section 230 of the Communications Decency Act.
10   Section 230 generally immunizes social media platforms for their
11   good faith, voluntary actions restricting content on their sites.
12   47 U.S.C. § 230(c)(2)(A).       AB 587 is not inconsistent with this
13   immunity because the bill does not penalize platforms for any of
14   their content moderation actions, including any restrictions on
15   content.    AB 587 merely provides that a platform may be penalized
16   if it fails to properly disclose specified high-level information
17   about its general content moderation policies and practices.
18        Finally, Plaintiff has failed to establish any of the other
19   Winter factors required for a preliminary injunction.            Plaintiff
20   argues only that those factors are present because, purportedly,

21   Plaintiff will likely succeed on its First Amendment claim.

22   However, because that claim fails on the merits, Plaintiff has

23   suffered no irreparable harm and the balance of the equities and

24   public interest favor Defendant.

25        For these reasons, explained in detail below, the Court

26   should deny Plaintiff’s motion for preliminary injunction.

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 1                                    BACKGROUND

 2   I.   BACKGROUND ON ASSEMBLY BILL 587

 3        Social media platforms, such as Plaintiff X Corp., have terms

 4   of service, including content-moderation rules, to which

 5   individuals must agree as a condition of using the platform.

 6   See, e.g., O’Handley v. Padilla, 579 F. Supp. 3d 1163, 1172 (N.D.

 7   Cal 2022), aff’d sub. nom. O’Handley v. Weber, 62 F.4th 1145 (9th

 8   Cir. 2023).    These rules give the platform the right to take

 9   action against content or users that violate the rules.              Id. at

10   1186.   In recent years, content moderation by social media

11   companies has drawn public concern, with numerous lawsuits filed

12   by users whose accounts were limited or suspended for posting

13   content that violated the platforms’ rules.          See, e.g., Informed

14   Consent Action Network v. YouTube, Inc., 582 F. Supp. 3d (N.D.

15   Cal. 2022); Yuksel v. Twitter, Inc., No. 22-cv-05415-TSH, 2022 WL

16   16748612 (N.D. Cal. Nov. 7, 2022); King v. Facebook, Inc., 572 F.

17   Supp. 3d 776 (N.D. Cal. 2021); Murphy v. Twitter, Inc, 274 Cal.

18   Rptr. 3d 360 (Ca1. Ct. App. 2021).         Some states have passed laws

19   prohibiting social media platforms from moderating, restricting,

20   or otherwise limiting particular kinds of content.            NetChoice,

21   LLC v. Att’y Gen., 34 F.4th 1196, 1205-1206 (11th Cir. 2022),

22   cert. granted in part sub. nom. Moody v. Netchoice, --- S.Ct. ---

23   -, 2023 WL 6319654 (describing Florida statute) (“Netchoice

24   (Fla.)”); NetChoice, LLC v. Paxton, 49 F.4th 439, 445-446 (5th

25   Cir. 2022), cert. granted in part, --- S.Ct. ----, 2023 WL

26   6319650 (describing Texas statute) (“Netchoice (Tex.)”).

27        In marked contrast, California’s AB 587 does not regulate

28   content-moderation policies or decision-making by private social
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 1   media platforms.     Instead, it is “a transparency measure.”

 2   Boutin Dec., Ex. 2 at 4 (Assem. Judiciary Comm. Analysis).             The

 3   law merely requires social media companies, as defined, to post

 4   their terms of service and to submit semiannual reports to the

 5   Attorney General about their terms of service and content

 6   moderation policies and outcomes.        Cal. Bus. & Prof. Code

 7   §§ 22676, 22677.     The Legislature’s purpose was “to increase

 8   transparency around what terms of service social media companies

 9   are setting out and how it ensures those terms are abided by.
10   The goal is to learn more about the methods of content moderation
11   and how successful they are.”       Boutin Dec., Ex. 11 at 3 (Sen.
12   Floor Analysis), Ex. 6 at 12 (Sen. Judiciary Comm. Analysis).
13        In other words, AB 587 is simply a disclosure statute
14   intended to provide the public with information about large
15   social media platforms’ voluntarily content moderation policies
16   and practices.     See Cal. Bus. Prof. Code §§ 22676, 22677, 22678;
17   see also Boutin Dec., Ex. 6 at 11-12 (Sen. Judiciary Comm.
18   Analysis).    It allows users to know “what social media platforms
19   do to flag and remove certain kinds of content, which may affect
20   what sites users prefer to use,” and “what kind of content or

21   conduct could lead to their being temporarily or permanently

22   banned from using the social media service.”          Boutin Dec., Ex 2

23   at 4 (Assem. Judiciary Comm. Analysis).         The Legislature also

24   considered that, by requiring greater transparency about

25   platforms’ content-moderation rules and decisions, AB 587 may

26   encourage—though not require—social media companies to “become

27   better corporate citizens by doing more to eliminate hate speech

28   and disinformation” on their platforms.         Id.
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 1   II. TEXT OF ASSEMBLY BILL 587

 2        AB 587 was enacted in September 2022 and is codified at

 3   California Business and Professions Codes sections 22675-22681.

 4   AB 587 provides that, commencing January 1, 2024, social media

 5   companies, as defined in the statute,1 must post the terms of

 6   service for each social media platform owned or operated by the

 7   company “in a manner reasonably designed to inform all users of

 8   the social media platform of the existence and contents of the

 9   terms of service.”     Id. § 22676(a).      The posted terms of service

10   must contain a “description of the process users must follow to

11   flag content, groups, or other users that they believe violate

12   the terms of service,” “the social media company’s commitments on

13   response and resolution time,” and a “list of potential actions

14   the social media company may take against an item of content or a

15   user.”   Id. § 22676(b).

16        The social media companies also must, commencing January 1,

17   2024, submit to the Attorney General a semiannual “terms of

18   service report” containing specific factual information.             Id.

19   § 22677(a)-(b).     The reports must include the “current version of

20   the platform’s terms of service” and a “detailed description of

21   content moderation practices used by the social media company ….”

22   Id. § 22677(a)(1), (a)(4).       The reports must also include a

23   statement of “whether the current version of the terms of service

24   define each of the following categories of content, and, if so,

25   the definitions of those categories,” and “any existing policies

26         1 AB 587 defines “social media company” as a person or entity that owns

     or operates one or more “social media platforms.” Cal. Bus. & Prof. Code
27   § 22675(d). A “social media platform” is defined as a “public or semi-public
     internet-based service that has users in California and meets” specific
28   criteria. Id. § 22675(e).
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 1   intended to address the categories,” which are:           “[h]ate speech

 2   or racism”; “[e]xtremism or radicalization”; “[d]isinformation or

 3   misinformation”; “[h]arassment”; and “[f]oreign political

 4   interference.”     Id. § 22677(a)(3), (a)(4)(A).        Finally, the

 5   reports must include “information on content that was flagged by

 6   the social media company as content belonging to any of the

 7   categories,” including the number of items of content that were

 8   “flagged” or “actioned” by the social media company, and how

 9   those items of content were “flagged” of “actioned,” e.g.,
10   whether by company employees, artificial intelligence software,
11   or users.    Id. § 22676(a)(5), (a)(5)(B)(iv)-(v).         The Attorney
12   General is directed to compile all terms of service reports and
13   make them available to the public in a “searchable repository on
14   its official internet website.”        Id. § 22676(c).
15        AB 587 creates a civil penalty for certain violations of the
16   reporting requirements, which are enforceable by certain law
17   enforcement officials in a court of law.          Id. § 22678.     In
18   assessing the amount of any penalty, “the court shall consider
19   whether the social media company has made a reasonable, good
20   faith attempt to comply with the provisions of this chapter.2

21   Id. § 22678(c)(3).     The law does not give the Attorney General

22   the authority or discretion to assess or collect penalties

23   outside of a court action.       See id. § 22678.

24        Social media companies with annual gross revenues of less

25   than $100 million are exempt from the statute’s requirements.

26         2 By the statute’s plain terms, this determination is the responsibility

     of the “court.” Id. § 22678(c)(3). AB 587 does not “afford[] the Attorney
27   General unfettered discretion in deciding what constitutes a ‘reasonable, good
     faith attempt to comply’ or a ‘material[] omi[ssion] or misrepresent[ation]”
28   in the Terms of Service Report.” See Pltf.’s Mtn., ECF No. 20, at 39.
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 1   Id. § 22680.    Also exempt are platforms “for which interactions

 2   between users are limited to direct messages, commercial

 3   transactions, consumer reviews of products, sellers, services,

 4   events, or places, or any combination thereof.”           Id. § 22681.

 5         Nothing in AB 587 requires social media companies to disclose

 6   the identities of or information about specific users.            See id.

 7   §§ 22675-81.    Nothing in AB 587 dictates the substantive content

 8   of social media companies’ terms of service.          See id. §§ 22675-

 9   81.   Nothing in AB 587 requires that social media companies take,
10   or prohibits them from taking, any action whatsoever against any
11   item of content or user.      See id.    And nothing in AB 587 requires
12   that social media companies’ terms of service define any
13   categories of content.      See id.
14                                 LEGAL STANDARD
15         Injunctive relief is an “extraordinary remedy that may only
16   be awarded upon a clear showing that the plaintiff is entitled to
17   such relief.”     Winter v. Natural Res. Def. Council, Inc., 555
18   U.S. 7, 20 (2008)).     “A plaintiff seeking a preliminary
19   injunction must establish that he is likely to succeed on the
20   merits,that he is likely to suffer irreparable harm in the

21   absence of preliminary relief, that the balance of equities tips

22   in his favor, and that an injunction is in the public interest.”

23   Winter, 555 U.S. at 20.      “When the government is a party, these

24   last two factors,” balance of the equities and public interest,

25   “merge.”    Drakes Bay Oyster Co. v. Jewell, 747 F.3d 1073, 1092

26   (9th Cir. 2014); California v. Azar, 911 F.3d 558, 575 (9th Cir.

27   2018) (same).     Analysis of the first factor (i.e., likelihood of

28   success on the merits) is a “threshold inquiry,” and thus if a
                                     7
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 1   movant fails to establish that factor, the court “need not

 2   consider the other factors.”        Azar, 911 F.3d at 575.

 3                                      ARGUMENT
 4   I.   PLAINTIFF HAS NOT SHOWN A LIKELIHOOD OF SUCCESS ON THE MERITS BECAUSE
          AB 587 DOES NOT VIOLATE THE FIRST AMENDMENT
 5
          A.    AB 587 Satisfies the Zauderer Test for Compelled
 6              Commercial Disclosures
 7        As explained, AB 587 does not dictate content-moderation

 8   policies or decisions about any particular content or user on

 9   social media.     It merely requires covered social media companies
10   to post their content-moderation policies and procedures so users
11   can see them, and to report information about their content-
12   moderation policies and decisions to the Attorney General on a
13   semi-annual basis, so he can make that report available on his
14   official website, enabling consumers to compare different
15   platforms.    AB 587 is in the same mold as other consumer
16   disclosure statutes, such as food labeling and truth-in-lending
17   laws.     To the extent it regulates speech by covered social media
18   companies, it involves compelled commercial speech of purely
19   factual and uncontroversial information, consistent with the
20   First Amendment.

21        The standard for analyzing compelled disclosures in the

22   context of commercial speech is the test established in Zauderer

23   v. Office of Disciplinary Counsel, 471 U.S. 626 (1985).              Zauderer

24   and its progeny reflect the unexceptional principle that “[t]he

25   First Amendment does not generally protect corporations from

26   being required to tell prospective customers the truth.”

27   Nationwide Biweekly Admin. v. Owen, 873 F.3d 716, 721 (9th Cir.

28   2017).
                                            8
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 1        Circuit courts have applied Zauderer to disclosure

 2   regulations very similar to those at issue here.           In addition to

 3   their content-moderation restrictions, the statutes at issue in

 4   NetChoice (Fla.) and NetChoice (Tex.) contained provisions

 5   requiring disclosures about content moderation policies and

 6   practices.3     NetChoice (Fla.), 34 F.4th at 1230; NetChoice

 7   (Tex.), 49 F.4th at 485.       In both cases, the required disclosures

 8   included terms of service and related information and, in

 9   Netchoice (Tex.) the disclosures also included “information about
10   the Platforms’ content management and business practices,” and a
11   report containing high-level statistics about their content-
12   moderation activities.      NetChoice (Tex.), 49 F.4th at 485;
13   NetChoice (Fla.), 34 F.4th at 1230.         The application of Zauderer
14   is equally appropriate here.
15        “Under Zauderer, compelled disclosure of commercial speech
16   complies with the First Amendment if the disclosure is reasonably
17   related to a substantial governmental interest and is purely
18   factual and uncontroversial.”        CTIA – Wireless Assn. v. City of
19   Berkeley, 928 F.3d 832, 845 (9th Cir. 2019) (“CTIA”).
20

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24         3 In both cases, the Supreme Court has granted certiorari, but only in

     part. The Court will consider the statutes’ provisions mandating particular
25   content moderation practices, but will not consider the statutes’ transparency
     provisions that are comparable to AB 587. See Moody v. Netchoice, --- S.Ct. -
26   ---, No. 22-277, 2023 WL 6319654, at *1 (U.S. Sept. 29, 2023) (identifying
     issues from United States’ amicus brief for which certiorari was granted);
27   Netchoice, LLC v. Paxton, --- S.Ct. ----, No. 22-555, 2023 WL 6319650 (U.S.
     Sept. 29, 2023) (same); Brief for the United States as Amicus Curiae, Nos. 22-
28   277, 22-393, 22-555 (S.Ct. Aug. 14, 2023), at 2023 WL 5280330.
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 1              1.   The disclosures required by AB 587 are purely
                     factual and uncontroversial
 2

 3        The   Ninth Circuit has explained that Zauderer’s factual and

 4   uncontroversial requirement is satisfied where the law in

 5   question does not “attempt[] to prescribe what shall be orthodox

 6   in politics, nationalism, religion or other matters of opinion,

 7   or force citizens to confess by word or act their faith therein.”

 8   Envtl. Defense Ctr. v. U.S. E.P.A., 344 F.3d 832, 849 (9th Cir.

 9   2003) (internal quotation omitted).         “Uncontroversial” refers to

10   the “factual accuracy of the compelled disclosure, not to its

11   subjective impact on the audience.”         CTIA, 854 F.3d at 1117.

12   See, e.g., Milavetz, Gallop & Milavetz v. United States, 559 U.S.

13   229, 251 (2010) (upholding law requiring that certain bankruptcy

14   lawyers disclose themselves as “debt relief agencies,” despite

15   law firm’s argument that the term was “confusing and

16   misleading”); Nat’l Biweekly Admin. v. Owen, 873 F.3d at 733

17   (upholding requirement that mortgage refinancing company disclose

18   that its solicitations were not authorized by the lender); CTIA,

19   928 F.3d at 846-47 (upholding ordinance requiring cell phone

20   retailers to disclose that cell phone use could cause exposure to

21   “RF radiation” in excess of federal safety guidelines,

22   notwithstanding argument that term was “fraught with negative

23   associations”).

24        AB 587’s required disclosures related to specified categories

25   of content (“disinformation,” “hate speech,” etc.) are factual

26   and uncontroversial.4      See Cal. Bus. & Prof. Code §§ 22677(a)(3),

27         4 AB 587’s disclosure requirements related to specified categories of

     content are the only provisions of the bill that Plaintiffs argue are not
28   “factual and controversial” under Zauderer. See Mtn. at 65-67.
                                           10
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 1   (5)(B)(1).    Those provisions merely require companies to disclose

 2   whether their terms of service “define” specified categories of

 3   content (and what those definitions are) and, if

 4   so,”[i]nformation on content that was flagged by the social media

 5   company as content belonging to any of” those categories.             Id.

 6   § 22777(a)(3), (5)(B)(1).       This is purely factual information

 7   about the company’s actual policies and actual conduct, whose

 8   accuracy is not subject to factual controversy.           If a social

 9   media company’s terms of service do not define the categories
10   listed in AB 587 in its terms of service, its report to the
11   Attorney General would simply disclose that fact.           Likewise, if a
12   social media company does not moderate—or “flag”—content meeting
13   its own definitions of those categories, it would have no
14   numerical data on that subject to include its report.            See id.
15        AB 587’s category-related requirements are not controversial
16   merely because the proper definition of those categories may be
17   publicly debated or because Plaintiff elects to utilize different
18   content categories that may overlap with those listed the
19   statute.     See Mtn. at 30, 35.    AB 587 does not require a company
20   to define any category at all in its terms of service, nor to

21   take any position on the proper definition of the categories

22   listed in the statute.      For example, it does not require

23   Plaintiff to define “disinformation” in its terms of service.

24   And, if Plaintiff nevertheless chooses to do so, the law does not

25   dictate what that definition should be.         AB 587 only requires

26   Plaintiff to disclose whether it has elected to define each

27   category in its terms of service and, if so, what that definition

28   actually is.     While Plaintiff may not wish to disclose such
                                        11
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 1   definitions for fear of the “subjective impact on its audience,”

 2   that does not render the requirement controversial under

 3   Zauderer.    CTIA, 854 F.3d at 1117.

 4         AB 587’s category-related requirements also do not compel

 5   statements that are misleading to consumers.          See Mtn. at 66.

 6   Plaintiffs argue that these requirements could mislead the public

 7   into believing that the company is not sufficiently moderating

 8   content because the company chooses to utilize categories

 9   different than those in the statute.         Mtn. at 66.    This is quite
10   unlikely.    AB 587 requires the Attorney General to make public
11   the entire terms of service report submitted by each company, not
12   merely the company’s statements on the categories in isolation.
13   Cal. Bus. & Prof. Code § 22677(c).        The terms of service reports
14   must include the entire “current version of the terms of service
15   of the social media platform.”        Id. § 22677(c)(1).      The reports
16   also must include a “detailed description of content moderation
17   practices used by the social media company for that platform.”
18   Id. § 22677(c)(4).     The bill does not limit how a company may
19   explain or qualify these practices.         Id. (description must
20   include, but is “not limited to” certain subjects).            Thus, AB

21   587’s disclosure requirements allow companies to make clear what

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 1   they are actually doing to moderate content.           It does not compel

 2   Plaintiff to make misleading statements.5

 3            2.   AB 587 is reasonably related to a substantial
                   state interest
 4
          AB 587 also meets the second part of the Zauderer test,
 5
     because it is “reasonably related to a substantial governmental
 6
     interest.”    CTIA, 928 F.3d at 845.       California has a substantial
 7
     interest in requiring social media companies to be transparent
 8
     about their content-moderation policies and decisions so that
 9
     consumers can make informed decisions about where they consume
10
     and disseminate news and information.         See Netchoice (Fla.), 34
11
     F.4th at 1230; Netchoice (Tex.), 49 F.4th at 485; see also, e.g.,
12
     Am. Hosp. Ass’n v. Azar, 983 F.3d 528, 540-41 (D.C. Cir. 2020)
13
     (upholding statute requiring hospitals to disclose pricing
14
     information, “to achieve goal of informing consumers about a
15
     particular product trait”) (quoting Am. Meat Inst. v. U.S. Dept.
16
     of Agric., 760 F.3d 18, 26 (D.C. Cir. 2014) (en banc); Nat’l
17
     Elec. Mfrs. Assn. v. Sorrell, 272 F.3d 104, 115 (2d Cir. 2011)
18
     (rejecting challenge to regulation requiring disclosure of
19
     information concerning mercury-containing products “to better
20
     inform consumers about the products they purchase”).            The goal of
21
     AB 537 was to advance this interest.         Boutin Dec., Ex. 6 at 12
22
     (Sen. Judiciary Comm. Analysis), Ex. 2 at 4 (Assem. Judiciary
23
           5 Plaintiff also briefly asserts in this section of its brief that
24
     Zauderer does not apply here because that test applies only to “instances of
     ‘commercial advertising’.” Mtn. at 66 (citing National Institute of Family
25   and Life Advocates v. Becerra, 138 S.Ct. 2361, 2372 (2018) (“NIFLA”)).
     However, NIFLA did not purport to narrow Zauderer to compelled speech in
26   commercial advertisements (id.) and, indeed, the Ninth Circuit subsequently
     applied the test to compelled commercial disclosures that were not
27   advertisements (CTIA, 928 F.3d 832 (applying Zauderer to ordinance requiring
     cell phone retailers to inform prospective purchasers regarding cell phone
28   radiation)).
                                          13
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 1   Comm. Analysis).      And, AB 587 does advance that interest, by

 2   requiring companies to disclose and explain their terms of

 3   service, Cal. Bus. Prof. Code §§ 22676, 22677, and to report

 4   high-level information about their content moderation practices,

 5   id. §22677(a)(4)-(5).

 6        The statute at issue in NetChoice (Fla.), 34 F.4th at 1230,

 7   contains provisions requiring that social media platforms

 8   “publish the standards, including detailed definitions, it uses

 9   or has used for determining how to censor, deplatform, and shadow
10   ban,” and that they inform users about changes to their terms of
11   service before implementing them.        Id.   On an appeal from an
12   order granting a preliminary injunction, the Eleventh Circuit
13   held that the statute’s content-moderation restrictions were
14   likely unconstitutional, but Florida’s interest in requiring
15   social media platforms to publish their content-mediation
16   standards was likely legitimate, because it ensures that
17   “consumers who engage in commercial transactions with platforms
18   by providing them with a user and data for advertising in
19   exchange for access to a forum—are fully informed about the terms
20   of that transaction and aren’t misled about platforms’ content-

21   moderation.”    Id.   Similarly, the Texas statute at issue in

22   NetChoice (Tex.) contains provisions requiring large social media

23   platforms to “publish an acceptable use policy and disclose

24   information about the Platforms’ content management and business

25   practices,” and publish a report containing high-level statistics

26   about their content-moderation activities. 49 F.4th at 485.

27   Despite the law’s other problems, there was no dispute that its

28   disclosure requirements “advance the state’s interest in enabling
                                     14
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 1   users to make an informed choice regarding whether to use the

 2   Platforms.”    Id. (cleaned up).      Here, AB 587 provides similar

 3   transparency and is similarly constitutional under Zauderer.

 4        The California Legislature also considered that, by requiring

 5   greater transparency about platforms’ content-moderation rules

 6   and decisions, AB 587 may encourage—though not require—social

 7   media companies to “become better corporate citizens by doing

 8   more to eliminate hate speech and disinformation” on their

 9   platforms.    Boutin Dec., Ex. 2 at 4 (Assem. Judiciary Comm.
10   Analysis).    This, too, is a substantial state interest.6
11   However, Plaintiff’s contention that the Legislature intended to
12   use AB 587 to “squelch” disfavored speech (see Mtn. at 9-10)
13   fails in the face of the plain text and the history of the bill.
14   Both show that the Legislature took pains to ensure that AB 587
15   “does not require social media companies to moderate or remove
16   hateful or incendiary content.”        Boutin Dec., Ex. 2 at 4 (Assem.
17

18

19
           6 The Legislature was concerned that “social media has become a powerful
20   and largely unregulated platform for groups espousing hate, violence, bigotry,
     conspiracy theories and misinformation.” Boutin Dec., Ex. 2 at 4 (Assem.
21   Judiciary Comm. Analysis). Use of social media has ballooned from only five
     percent of adults in 2005 to over 70 percent of adults in 2022. Id., Ex. 6 at
22   1. (Sen. Judiciary Comm. Analysis) During that time, social media companies’
     content-moderation policies have dramatically evolved; at the same time,
23   “proliferation of objectionable content and ‘fake news’ has led to calls for
     swifter and more aggressive action in response.” Id. The legislative history
24   notes that a recent study of Twitter posts determined that “more targeted,
     discriminatory tweets posted in a city related to a higher number of hate
     crimes.” Id., Ex. 10 at at 3 (Sen. Floor Analysis); see id., Ex 2 at 4. The
25   Legislature also was concerned that social media companies were deploying a
     number of methods of content moderation, but there was a lack of transparency
26   into those methods, id., Ex. 6 at 11 (Sen. Judiciary Comm. Analysis), and
     recognized “backlash against perceived censorship in response to filtering of
27   content and alleged ‘shadow banning,’’ Ex. 10 at 3 (Sen. Floor Analysis).

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                                          15
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 1   Judiciary Comm. Analysis) (emphasis added).7          See also infra at

 2   pp. 3-7.

 3        In sum, AB 587’s “[m]andated disclosure of accurate, factual,

 4   commercial information does not offend the core First Amendment

 5   values of promoting efficient exchange of information or

 6   protecting individual liberty interests.          Such disclosure

 7   furthers, rather than hinders, the First Amendment goal of the

 8   discovery of truth and contributes to the efficiency of the

 9   ‘marketplace of ideas.’”       Nat’l Elec. Mfrs. Assn. v. Sorrell, 272
10   F.3d at 113-114.
11            3.   AB 587 is not unjustified or unduly burdensome
12        A disclosure requirement could violate the First Amendment if
13   it was so “unjustified or unduly burdensome” that it “chill[s]
14   protected commercial speech.”        Zauderer, 471 U.S. at 651. See
15   CTIA, 928 F.3d at 848–49; Am. Meat Inst. v. U.S. Dep't of Agric.,
16   760 F.3d at 27 (“Zauderer cannot justify a disclosure so
17   burdensome that it essentially operates as a restriction on
18   constitutionally protected speech”).         Plaintiff has not shown
19   that AB 587 is such a requirement.
20

21
           7 In an attempt to demonstrate that AB 587’s purpose is to suppress
22
     protected speech, Plaintiff cites a public letter from the Attorney General.
23   As explained below in further detail, infra at pp. 35-36, Plaintiff’s
     characterization of this letter is not accurate. In any event, the letter is
24   not part of the bill’s legislative history. See Am. Fuel & Petrochem. Mfrs.
     v. O’Keefe, 903 F.3d 903, 912 (9th Cir. 2018) (holding that the district court
     correctly found that statements by public officials “do not demonstrate that
25   objectives identified by the legislature were not the true goals” of the
     statute). Moreover, under California law, legislative history consists of
26   materials relating to the bill that the Legislature as a body had before it
     when it deliberated over the bill. Noori v. Countrywide Payroll & HR
27   Solutions, Inc., 257 Cal. Rptr. 3d 102, 110 n. 11 (Cal. Ct. App. 2019). The
     statements Plaintiff cites were not before the Legislature and, rather, post-
28   date the Legislature’s vote.
                                          16
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 1        AB 587 applies only to social media platforms that gross over

 2   $100 million in revenue per year.        Cal. Bus. & Prof. Code §

 3   22680.   It merely requires a subject company to make their terms

 4   of service available to users and to submit semiannual reports to

 5   the Attorney General on their terms of service and content

 6   moderation policies and outcomes.        Id. §§ 22676, 22677.        The law

 7   does not require companies to utilize any particular content

 8   categories in their terms of service or actual content moderation

 9   practices, nor to report on any flagged posts in categories that
10   they do not utilize.      See id. §§ 22676(a)(3) (report to Attorney
11   General must include a “statement of whether the current version
12   of the terms of service defines each of the following
13   categories . . .” (emphasis added)), 22677(a)(5)(A) (report must
14   include “[i]nformation on content that was flagged by the social
15   media company as content belonging to any of the categories
16   described in paragraph (3) . . .” (emphasis added)).
17        Plaintiff is subject to AB 587 because it grosses over $100
18   million per year.     Redacted Affidavit, ECF No. 23, ¶ 5; Cal. Bus.
19   & Prof. Code § 22680.      Plaintiff’s contention that, despite this
20   high revenue, compliance with AB 587 would entail “herculean”

21   efforts (Mtn. at 67) appears to rely on a misapprehension of the

22   statute and is not supported by facts.         Plaintiff argues that it

23   would be “enormously burdensome to create and categorize the

24   records required by AB 587 for the roughly 221 billion posts made

25   on X each year.”     Mtn. at 68.    But AB 587 does not require

26   Plaintiff to categorize all of its posts.          It only requires

27   Plaintiff to report certain statistics on flagged posts if

28   Plaintiff already utilizes the categories enumerated in the
                                     17
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 1   statute.    Id. § 22677(a)(5)(A).      Plaintiff has submitted no

 2   evidence of the cost or burden of what the statute actually

 3   requires it to do, nor how that would cause chilling of protected

 4   speech.    See NetChoice (Tex), 49 F.4th at 486 (“Zauderer does not

 5   countenance a broad inquiry into whether disclosure requirements

 6   are ‘unduly burdensome’ in some abstract sense, but instead

 7   instructs us to consider whether they unduly burden (or ‘chill’)

 8   protected speech and thereby intrude on an entity's First

 9   Amendment speech rights”).       Just as the Fifth Circuit concluded
10   when evaluating the burden of the Texas law requiring social
11   media companies to report high-level content moderation
12   statistics, “[a]t best, [plaintiffs have] shown that some of the
13   transparency report's disclosures, if interpreted in a
14   particularly demanding way by [the state], might prove unduly
15   burdensome due to unexplained limits on the Platforms' technical
16   capabilities. But none of these contingencies have materialized.”
17   Id. at 486.    Indeed, here, Plaintiff appears to maintain that it
18   does not, in fact, utilize the categories in AB 587.            Red.
19   Affid., ¶ 13 (“But X Corp.’s categories of content moderation,
20   while comprehensive, do not align with the categories identified

21   in the statute”); see also Mtn. at 30-35 (describing X Corp.

22   terms of service categories).         If that is the case, then AB

23   587’s disclosure requirements regarding statistics on flagged

24   items will cause it no burden at all because Plaintiff just

25   simply state in its report to the Attorney General that it does

26   not use the categories.      See Cal. Bus. & Prof. Code

27   § 22677(a)(5)(A) (requiring disclosure only of “[i]nformation on

28   content that was flagged by the social media company as content
                                     18
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 1   belonging to any of the categories described in paragraph (3)”

 2   (emphasis added)).

 3        Finally, AB 587’s enforcement mechanism does not unduly

 4   burden Plaintiff, and is certainly not “draconian.”            Mtn. at 39.

 5   To enforce the law, the Attorney General or other appropriate

 6   state official must bring a court action to adjudicate a possible

 7   violation of the law.      Cal. Bus. & Prof. Code § 22678(b).

 8   According to AB 587’s plain text, it is “the court,” not the

 9   Attorney General that has the discretion to determine “whether
10   the social media company has made a reasonable, good faith
11   attempt to comply with” AB 587.        Id. § 22678(a)(3).      Plaintiff
12   also suggests that the law is unduly burdensome because the
13   Attorney General has some sort of unusual investigatory powers to
14   enforce it.    Mtn. at 40.    This is not so.      AB 578 confers no
15   particular investigatory powers on the Attorney General.
16   Accordingly, Plaintiff cites only a provision of the California
17   Government Code that governs all state agencies’ general powers
18   to conduct investigations and hearings.         Id. (citing Cal. Gov.
19   Code § 11180).
20        Because AB 587 satisfies the Zauderer test for compelled

21   commercial speech and is not so unjustified or unduly burdensome

22   as to chill protected speech, the law does not violate the First

23   Amendment.    The Court need not inquire further to conclude that

24   Plaintiff’s First Amendment claim is not likely to succeed on the

25   merits and the motion for preliminary injunction should be

26   denied.

27

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                                          19
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 1        B.   Even if the AB 587 Did Not Satisfy the Zauderer Test,
               It Would Still Be Constitutional Under Central Hudson
 2             Intermediate Scrutiny

 3        Even if AB 587 did not satisfy the Zauderer, it would still

 4   be constitutional under the Central Hudson intermediate scrutiny

 5   test for commercial speech.       See Nat’l Ass’n of Wheat Growers v.

 6   Becerra, 468 F. Supp. 3d 1247, 1258 (E.D. Cal. 2020) (“If the

 7   Zauderer standard does not apply here because the warning

 8   requirement is not purely factual and uncontroversial . . . the

 9   court should then proceed to examine the warning requirement

10   under Central Hudson’s intermediate scrutiny”) (citing National

11   Institute of Family and Life Advocates v. Becerra, 138 S.Ct.

12   2361, 2372 (2018) (“NIFLA”) (internal quotation omitted));

13   California Chamber of Commerce v. Becerra, 529 F. Supp. 3d 1099,

14   1121-22 (E.D. Cal. 2021) (assuming without deciding that Central

15   Hudson analysis should be applied if regulation compelling

16   commercial speech does not satisfy Zauderer); see also Cent.

17   Hudson Gas & Elec. Corp. v. Pub. Serv. Comm'n of New York, 447

18   U.S. 557, 564 (1980).

19        Under Central Hudson, government regulation of commercial

20   speech will be upheld so long as: (i) the government asserts a

21   substantial interest, (ii) the regulation directly advances the

22   government’s asserted interest, and (iii) the regulation is no

23   more restrictive than necessary to serve that interest.              See

24   Central Hudson, 447 U.S. at 564.

25        When applying intermediate scrutiny, courts give “substantial

26   deference to the predictive judgments of [the legislature].”

27   Turner Broad. Sys., Inc. v. FCC, 520 U.S. 180, 195 (1997)

28   (internal quotation and citation omitted); see also United States
                                          20
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 1   v. Edge Broad. Co., 509 U.S. 418, 434 (1993) (“Within the bounds

 2   of the general protection provided by the Constitution to

 3   commercial speech, we allow room for legislative judgments”).

 4   The legislature may rely on evidence “reasonably believed to be

 5   relevant to the problem” (id. at 51) and such evidence need not

 6   be empirical (see, e.g., City of Los Angeles v. Alameda Books,

 7   Inc., 535 U.S. 425, 439 (2002) (plurality opinion) (explaining

 8   that city did not need empirical data to support its conclusion

 9   that adult-bookstore ordinance would lower crime)).8
10             1.   AB 587 serves a substantial government interest
11        As discussed above in the context of Zauderer scrutiny, AB
12   587 serves California’s substantial interest in social media
13   transparency regarding their content-moderation policies and
14   decisions, so that consumers can make informed decisions about
15   which platforms they use to gather and disseminate information.
16   See supra at pp. 13-16; see also NetChoice (Fla.), 34 F.4th at
17   1230 (recognizing that state disclosure requirements on social
18   media platforms’ content management serves substantial state
19   interest); NetChoice (Tex.), 49 F.4th at 485 (same).            The first
20   prong of Central Hudson scrutiny is satisfied.

21

22
           8 Plaintiff briefly asserts in a footnote that Central Hudson scrutiny
23   does not apply here because AB 587 does not regulate commercial speech.
     Factors in deciding whether speech constitutes “commercial speech” include
24   whether (1) the speech is an advertisement; (2) the speech refers to a
     particular product; and (3) the speaker has an economic motivation. See Hunt
     v. City of Los Angeles, 638 F.3d 703, 715 (9th Cir. 2011) (citing Bolger v.
25   Youngs Drug Prods. Corp., 463 U.S. 60, 66-68 (1983)). These factors are not
     dispositive, and not all of them “must necessarily be present in order for
26   speech to be commercial.” Bolger, 463 U.S. at 67, n.14. Factual disclosures
     from social media companies about their user policies and practices are
27   commercial speech, because they relate to a “particular product” (i.e., the
     platforms) and are made with the economic motivation for people to elect to
28   properly utilize those platforms.
                                          21
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 1             2.   AB 587 directly advances the government’s
                    asserted interest
 2

 3         The second Central Hudson prong is also easily satisfied.

 4   For this requirement, a state must show “that the harms it

 5   recites are real and that its restriction will in fact alleviate

 6   them to a material degree.”       Edenfield v. Fane, 507 U.S. 761, 762

 7   (1993).    Nevertheless, “empirical data [need not] come . . .

 8   accompanied by a surfeit of background information,” and such

 9   restrictions may be “based solely on history, consensus, and

10   simple common sense.”      Fla. Bar v. Went For It, Inc., 515 U.S.

11   618, 628 (1995) (quotation marks omitted).

12         As explained above, AB 587 directly advances the state’s

13   interest in ensuring transparency in social media companies’

14   content moderation policies and practices.          See supra at pp. 13-

15   16.    The need for this transparency is real and not hypothetical.

16   An article from the MIT Technology Review, cited in the

17   Legislative history, explains, “social media has become the

18   terrain for a low-grade war on our cognitive security, with

19   misinformation campaigns and conspiracy theories proliferating.”

20   Joan Donovan, Why social media can’t keep moderating content in

21   the shadows, MIT TECHNOLOGY REVIEW, November 6, 2020, available at

22   https://www.technologyreview.com/2020/11/06/1011769/social-media-

23   moderation-transparency-censorship/ (last viewed Oct. 27, 2023);

24   Boutin Dec., Ex. 6 at 11 (Sen. Judiciary Comm. Analysis).

25   However, social media platforms “rarely provide detailed insight:

26   into their content moderation practices.”          Id. at 12.

27         Plaintiff appears to argue that AB 587 does not directly

28   advance the state’s interest in increasing the transparency of
                                          22
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 1   social media content moderation because X Corp. is already

 2   sufficiently transparent by posting its terms of service.               Mtn.

 3   at 64.   That fact does not mean that AB 587 does not directly

 4   advance the state’s interest in increasing transparency (and even

 5   maintaining the low levels of current transparency) to help the

 6   public make informed choices about where to obtain and

 7   disseminate news and information.        Better transparency under SB

 8   587 includes information about what actions social media

 9   platforms actually take to enforce their terms of service and
10   moderate their content.      See Cal. Bus. & Prof. Code §
11   22677(a)(4)-(5).     In any event, a statute does not violate the
12   First Amendment merely because one company may currently comply
13   with parts of it voluntarily.
14            3.   AB 587 is not “more extensive that necessary” to
                   serve the government’s asserted interest in
15                 transparency
16        Plaintiff does not argue that AB 587 is “more extensive than
17   necessary” to serve the State’s asserted interest.            Central
18   Hudson, 447 U.S. at 564; see Mtn. at 63-65.          Indeed, the law
19   satisfies that final prong of Central Hudson.
20        A restriction on commercial speech must also not be “more

21   extensive than necessary to serve the interests that support it.”

22   Greater New Orleans Broadcasting Ass’n, Inc. v. United States,

23   527 U.S. 173, 188 (1999).       “The test is sometimes phrased as

24   requiring a reasonable fit between government's legitimate

25   interests and the means it uses to serve those interests.”              Valle

26   Del Sol Inc. v. Whiting, 709 F.3d 808, 825 (9th Cir. 2013)

27   (internal quotation omitted).       The law need “not necessarily [be]

28   the single best disposition but one whose scope is in proportion
                                     23
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 1   to the interest served . . . .”        Bd. of Trustees of State Univ.

 2   of N.Y. v. Fox, 492 U.S. 469, 480 (1989).          So long as a statute

 3   falls within those bounds, courts “leave it to governmental

 4   decisionmakers to judge what manner of regulation may best be

 5   employed.”     Id.

 6        The disclosure requirements in AB 587 are a “reasonable fit”

 7   with the state’s interest in ensuring transparency in social

 8   media companies’ content moderation policies and practices.              Its

 9   scope is modest and its burden on large, well-resourced social
10   media companies is minimal because, rather than prescribe any
11   terms of service or content moderation practices, the law merely
12   requires companies to disclose their terms of service and
13   generally report on what they are already doing to moderate
14   content.    AB 587 is therefore no more extensive than necessary in
15   relation to its purpose creating public transparency.9
16        C.    AB 587 Does Not Violate the First Amendment Based on
                Plaintiff’s “Editorial Judgments” Theory
17

18        Plaintiff appears to argue that, regardless of whether AB 587
19   satisfies Zauderer¸ the law categorically violates the First
20   Amendment based on a theory that it interferes with Plaintiff’s

21   “editorial judgments about content.”         Mtn. at 46.     This argument

22   is unavailing here, just as it was in Netchoice (Fla.) and

23
           9 The disclosure requirements of AB 587 are generally severable for the
24
     purposes of an injunction because they are “grammatically, functionally, and
     volitionally separable.” Cal. Redevelopment Assn. v. Matosantos, 53 Cal. 4th
25   231, 271 (2011); Project Veritas v. Schmidt, 72 F.4th 1043, 1063 (9th Cir.
     2023) (“To determine whether a state statute is severable, we are bound by
26   state statutes and state court opinions”). Thus, even if this Court were to
     find that AB 587 likely violates the First Amendment, the Court should only
27   consider preliminarily enjoining the specific provisions of AB 587 that the
     Court concludes are likely unconstitutional.
28
                                          24
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 1   Netchoice (Tex.), where both the Fifth and Eleventh Circuits held

 2   that the challenged disclosure statutes did not violate the First

 3   Amendment based on the “editorial judgments” theory.            Netchoice

 4   (Fla.), 34 F.4th at 1233; Netchoice (Tex.), 49 F.4th 487-88.

 5   Indeed, none of Plaintiffs’ cited cases involve regulations

 6   compelling commercial speech and therefore none even consider

 7   whether Zauderer should apply.

 8        Herbert v. Lando is a defamation case that merely says, in

 9   dicta, that “[t]here is no law that subjects the editorial
10   process to private or official examination merely to satisfy
11   curiosity or to serve some general end such as the public
12   interest; and if there were, it would not survive constitutional
13   scrutiny as the First Amendment is presently construed.”             441
14   U.S. 153, 174 (1979).      The Fifth Circuit explained in Netchoice
15   (Tex.) why Herbert is distinguishable from social media
16   transparency laws: “Herbert held that a defamation plaintiff
17   could obtain discovery into the editorial processes that
18   allegedly defamed him.      And in the course of so holding, the
19   Court rejected the editor's request to create ‘a constitutional
20   privilege foreclosing direct inquiry into the editorial

21   process.’”    Netchoice (Tex.), 49 F.4th at 487 (quoting Herbert,

22   441 U.S. at 176) (internal citation omitted).           Moreover, here and

23   in Netchoice (Tex.), the Zauderer test accounts for the

24   hypothetical scenario asserted in Herbert by requiring compelled

25   commercial speech to be purely factual and to reasonably relate

26   to a particular substantial governmental interests—the

27   disclosures are not required “merely to satisfy mere curiosity.”

28   Herbert, 441 U.S. at 176.
                                          25
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 1        In Miami Herald Pub. Co. v. Tornillo, the Supreme Court ruled

 2   that a Florida statute violated the First Amendment by requiring

 3   a newspaper that criticized a political candidate to subsequently

 4   publish the candidate’s response.          418 U.S. 241, 244 (1974); see

 5   Mtn. at 47.    The Court reasoned that, under the First Amendment,

 6   the state could not compel a newspaper to publish political

 7   speech that it disagreed with.        Id. at 256 (“the Court has

 8   expressed sensitivity as to whether a restriction or requirement

 9   constituted the compulsion exerted by government on a newspaper
10   to print that which it would not otherwise print.           The clear
11   implication has been that any such compulsion to publish that
12   which reason tells them should not be published is
13   unconstitutional”); see also PruneYard Shopping Ctr. v. Robins,
14   447 U.S. 74, 88 (1980) (Miami Herald “rests on the principle that
15   the State cannot tell a newspaper what it must print”).
16        The challenged statute in Miami Herald is clearly
17   distinguishable from AB 587.       An analogous law would require
18   social media platforms to publish on the platform noncommercial
19   content that it did not wish to publish.          But AB 587 does not
20   compel or prohibit the publication of any noncommercial content—

21   it does not purport to regulate what posts a social media

22   platform must allow or disallow.          AB 587 merely requires

23   companies to disclose their terms of service (i.e., commercial

24   speech) and report to the Attorney General certain high level

25   information about how the company voluntarily elects to limit its

26   content.    Unlike the statute in Miami Herald, AB 587 therefore

27

28
                                          26
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 1   does not dictate companies’ editorial judgments about what is

 2   included on their platforms.10

 3         Washington Post v. McManus is also distinguishable.            See 944

 4   F.3d 506 (4th Cir. 2019); see also Paxton, 49 F.4th at 488, n.38.

 5   That case involved burdensome campaign finance regulations of

 6   political speech.     Id. at 510-12.      Specifically, the law required

 7   online platforms (include news outlets) to, for every political

 8   ad it posted, also post on its site “the identity of the

 9   purchaser, the individuals exercising control over the purchaser,
10   and the total amount paid for the ad.”         Id. at 511.     It also
11   required platforms to collect and retain records regarding the
12   political ad purchasers, which was subject to state inspection.
13   Id. at 512.    While expressly noting the narrowness of its ruling
14   (id. at 513), the court emphasized that the regulatory scheme was
15   unconstitutional, in large part, because it singled out political
16   speech, “campaign-related speech,” for regulation.            Id. at 513-
17   14.    It also emphasized that the law implicated constitutional
18   protections for anonymous political speech (id. at 515) and that
19   noncompliance would result in an injunction to remove the
20   political ad and, failing that, criminal penalties (id. at 514).

21         AB 587 does not implicate these concerns.         It does not

22   require social media platforms to respond to political content

23
           10 The editorial judgment theory also does not apply to AB 587 due to

24   material differences between newspapers and social media platforms. See Br.
     of Amicus Curiae the Knight First Amendment Institute at Columbia University
     in Support of Pltfs.-Appellees, Netchoice LLC v. Atty Gen., St. of Fl., No.
25   21-12355 (11th Cir. Nov. 15, 2021), 2021 WL 5358576 at *18-22 (describing
     differences that should inform First Amendment analysis); Netchoice (Tex.), 49
26   F.4th at 488 (“[social media p]latforms, of course, neither select, compose,
     nor edit (except in rare instances after dissemination) the speech they host.
27   So even if there was a different rule for disclosure requirements implicating
     a newspaper-like editorial process, that rule would not apply here because the
28   Platforms have no such process”).
                                          27
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 1   posted on their platforms with speech of their own.            It merely

 2   requires them to disclose facts about their commercial services—

 3   namely their terms of service, and high-level information on

 4   their content moderation practices—so that consumers can take

 5   that information into account in deciding whether to use that

 6   service.    And, unlike the challenged law in Washington Post, AB

 7   587 does not provide any penalties based on the content on the

 8   platform.

 9        Because their cited cases are inapposite, Plaintiffs have
10   failed to show that the “editorial judgment” theory, and not
11   Zauderer, applies to AB 587.
12
          D.    AB 587 Is Not Subject to Strict Scrutiny, But
13              Satisfies It In Any Event
14              1.   Zauderer, not strict scrutiny, applies to laws
                     compelling commercial speech, even if content-
15                   based
16        AB 587 requires qualifying social media platforms to disclose
17   specified factual information.        This does not subject the law to
18   strict scrutiny.
19        Generally, many content-based speech regulations implicating
20   the First Amendment are subject to strict scrutiny.            However, as

21   the Supreme Court explained in NIFLA, Zauderer set forth an

22   exception to this rule for content-based regulations that compel

23   commercial speech.     NIFLA, 138 S. Ct. at 2365-66 (citing

24   Zauderer, 471 U.S. at 651).       Indeed, regulations compelling

25   speech are usually content-based by definition, because they set

26   forth some category of information that must be spoken—and

27   Zauderer scrutiny is applied in those cases.          See, e.g.,

28   Zauderer, 471 U.S. at 652 (attorney advertisements required to
                                     28
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 1   disclose that clients may be responsible for litigation costs);

 2   CTIA, 928 F.3d at 837-38 (cell phone retailers required to inform

 3   prospective purchasers about cell phone radiation); Am. Beverage

 4   Ass’n v. City and County of San Francisco, 916 F.3d 749, 753 (9th

 5   Cir. 2019) (health warnings required in advertisements for

 6   certain sugar-sweetened beverages).

 7         Plaintiff argues that, as a content-based regulation, AB 587

 8   is subject to strict scrutiny because the law requires

 9   disclosures that are not “purely factual and uncontroversial.”
10   However, as explained above, that is not the case.            Supra at pp.
11   10-13.    Zauderer scrutiny therefore applies, and AB 587 satisfies
12   it.
13         Volokh v. James is not analogous to the circumstances here.
14   See --- F.Supp.3d ----, No. 22-cv-10195, 2023 WL 1991435,
15   (S.D.N.Y. Feb. 14, 2023); see Mtn. at 53.           In Volokh, the
16   challenged law required social media platforms to both have and
17   disclose a policy regarding hate speech, specifically.            Id. at
18   *2.    The court found that the law placed plaintiffs “in the
19   incongruous position of stating that they promote an explicit
20   pro-free speech ethos, but also require[d] them to enact a policy

21   allowing users to complain about ‘hateful conduct’ as defined by

22   the state.”    Id. at *7.    The court concluded that the compelled

23   speech was therefore partly political in nature and that strict

24   scrutiny was therefore appropriate.”         Id.

25         In contrast here, AB 587 does not force Plaintiff to have any

26   policy or take any position on any type of speech, because it

27   does not require Plaintiff to utilize any particular categories

28   in its terms of service or for the purposes of content
                                     29
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 1   moderation.     The law merely requires Plaintiff to disclose the

 2   factual information of whether it does, in fact, define certain

 3   categories in its terms of service, and high-level statistics on

 4   its actual content moderation practices.          The law therefore

 5   requires Plaintiff to disclose factual information about its own

 6   voluntary, existing practices and is not subject to strict

 7   scrutiny.

 8
               2.   Plaintiff’s “speech about speech” cases do not
 9                  apply here
10        AB 587 is also not subject to strict scrutiny as a law that

11   purportedly regulates “speech about speech.”          Mtn. at 54.

12   Plaintiff’s cited cases do not support the application of that

13   theory here.

14        Smith v. People of the State of California did not involve

15   compelled commercial speech, but rather, an ordinance imposing

16   strict criminal liability on booksellers containing obscene

17   material.      361 U.S. 147, 148-49 (1959).     The Court concluded that

18   the statute would have the functional effect of banning books

19   that were not obscene, and thus, constitutionally protected.              Id.

20   at 152.     AB 587 is not analogous to the ordinance in Smith.          It

21   does not functionally require Plaintiff to change its terms of

22   service or content moderation practices; it merely requires

23   Plaintiff to disclose them.       The law is not unconstitutional

24   merely because the public may not have a wholly positive reaction

25   to those disclosures.

26        In Entertainment Software Ass'n v. Blagojevic, the Seventh

27   Circuit considered a challenge to an Illinois law that required

28   video game retailers to label any “sexually explicit” video game
                                          30
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 1   with the numeral “18.”      469 F.3d 641, 643 (7th Cir. 2006).         The

 2   law also required retailers to “place a sign in their stores

 3   explaining the video game rating system and to provide customers

 4   with brochures about the video game rating system.”            Id.   The

 5   court initially applied Zauderer, but determined that the laws’

 6   particular requirements were not “purely factual” or

 7   “uncontroversial” because both compelled disclosures were

 8   subjective and “opinion-based” according to the content of the

 9   video games.    Id. at 652-63.     That is why the court then turned
10   to strict scrutiny.     Meanwhile, in Motion Picture Ass’n of Am. v.
11   Specter¸ which predated Zauderer, the district court held that a
12   state law violated the First Amendment where it criminalized a
13   film exhibitor’s misrepresentation that a film is “suitable for
14   family viewing,” reasoning that the standard was entirely
15   subjective.    315 F.Supp. 824, 825-26 (E.D. Penn. 1970).
16        Here, AB 587’s requirements meet the Zauderer standard,
17   because the disclosures are factual and uncontroversial.             The law
18   does not require companies to categorize content in any
19   particular way, but merely requires them to report on the
20   categories they already elect to use, which is a factual matter.

21   In other words, the law also does not require social media

22   companies to adopt, adhere to, or endorse any government

23   definition of harmful or otherwise disfavored speech.

24
              3.   AB 587’s legislative purpose does not subject the
25                 statute to strict scrutiny
26        Plaintiff appears to argue that statements by public

27   officials indicate that the law is a content-based and viewpoint-

28
                                          31
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 1   discriminatory regulation, and therefore subject to strict

 2   scrutiny.    Mtn. at 55-58.

 3         As previously discussed, just like most laws compelling

 4   commercial speech, AB 587 is content based.          See supra at pp. 28-

 5   29.    But that subjects the bill only to Zauderer scrutiny.           See

 6   Zauderer, 471 U.S. at 652.       Although Plaintiff cites Reed and

 7   City of Austin for the proposition that content-based regulations

 8   are subject to strict scrutiny, those case involved restricted

 9   speech not compelled speech.       Mtn. at 56-57; see Reed v. Town of
10   Gilbert, Ariz., 576 U.S. 155, 159 (2015); City of Austin, Texas
11   v. Reagan Nat’l Advert. of Austin, LLC, 596 U.S. 61, 64-65
12   (2022).
13         AB 587 is, however, viewpoint neutral (and not viewpoint-
14   discriminatory), both facially and considering its legislative
15   history and purpose.      “A regulation engages in viewpoint
16   discrimination when it regulates speech ‘based on ‘the specific
17   motivating ideology or perspective of the speaker.’ ” First
18   Resort, Inc. v. Herrera, 860 F.3d 1263, 1277 (9th Cir. 2017)
19   (quoting Reed, 576 U.S. at 168).        If a law is facially neutral, a
20   court “will not look beyond its text to investigate a possible

21   viewpoint-discriminatory motive.”        Interpipe Contracting, Inc. v.

22   Becerra, 898 F.3d 879, 899 (9th Cir. 2018).          A court may only

23   turn to the legislative history and other extrinsic evidence of

24   legislative intent if the law includes “indicia of discriminatory

25   motive.”    Id.

26         The text of AB 587 is facially neutral and there are no

27   indicia in the text of discriminatory motive.           It does not impose

28   any terms of service or content regulation policies on any social
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 1   media platform.     The law merely requires the companies to

 2   disclose the policies and practices that it has already,

 3   voluntarily, put into place.       It therefore does not favor any

 4   disclosures over others.      This Court therefore need not look

 5   beyond the state’s text to conclude that it is viewpoint-neutral,

 6   and therefore not subject to strict scrutiny.

 7        Even if it were appropriate to look beyond AB 587’s text, the

 8   legislative history establishes that the law is not viewpoint

 9   discriminatory.     Courts “assume that the objectives articulated
10   by the legislature are actual purposes of the statute, unless an
11   examination of the circumstances forces [the courts] to conclude
12   that they could not have been a goal of the legislature.”             Am.
13   Fuel & Petrochem. Mfrs. v. O’Keefe, 903 F.3d 903, 912 (9th Cir.
14   2018).    As the Legislature put it, AB 587 is, “[i]n essence . . .
15   a transparency measure.”      Boutin Dec., Ex. 2 at 4 (Assem.
16   Judiciary Comm. Analysis).       The Legislature’s express purpose in
17   enacting the bill was “to increase transparency around what terms
18   of service social media companies are setting out and how it
19   ensures those terms are abided by.        The goal is to learn more
20   about the methods of content moderation and how successful they

21   are.”    Id., Ex. 6 at 12 (Sen. Judiciary Comm. Analysis).            The

22   Governor’s press release following enactment prominently referred

23   to AB 587 in its title as a “social media transparency bill.”

24   See Mtn. at 69.

25        Plaintiff argues that the main purpose of AB 587 is to

26   pressure social media platforms to eliminate certain types of

27   speech on their platforms.       Mtn. at 55-56.     The Legislature did

28
                                          33
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 1   consider that, by requiring greater transparency about platforms’

 2   content-moderation rules and decisions, AB 587 may encourage—

 3   though not require—social media companies to “become better

 4   corporate citizens by doing more to eliminate hate speech and

 5   disinformation” on their platforms.         Boutin Dec., Ex. 2 at 4

 6   (Assem. Judiciary Comm. Analysis).        But any public pressure from

 7   consumers that results from the factual disclosures does not

 8   equate to discriminatory treatment by the state through AB 587.

 9        To hold otherwise would mean that strict scrutiny would
10   presumably apply to any consumer protection law that forces a
11   company to disclose unfavorable information about its product.
12   That is not the rule under Zauderer.         See, e.g., Milavetz, Gallop
13   & Milavetz v. United States, 559 U.S. 229, 251 (2010) (requiring
14   bankruptcy lawyers to disclose themselves as “debt relief
15   agencies”) Nat’l Biweekly Admin. v. Owen, 873 F.3d at 733
16   (requiring mortgage refinancing company to disclose that its
17   solicitations were not authorized by the lender); CTIA, 928 F.3d
18   at 846-47 (requiring cell phone retailers to disclose information
19   on cell phone radiation); S.F. Apartment Ass’n v. City & Cnty. of
20   S.F., 881 F.3d 1169, 1176-77 (9th Cir. 2018) (requiring landlords

21   to provide tenants with information about tenants’ rights

22   organizations before engaging in lease buyout negotiations); N.Y.

23   State Rest. Ass’n v. N.Y.C. Bd. of Health, 556 F.3d 114 (2d Cir.

24   2009) (requiring restaurants to post calorie content on menus);

25   see also Nationwide Biweekly Admin. v. Owen, 873 F.3d 716, 721

26   (9th Cir. 2017) (“[t]he First Amendment does not generally

27   protect corporations from being required to tell prospective

28   customers the truth”).      To the contrary, Zauderer does not
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 1   require a law’s “subjective impact on the audience” to be

 2   “uncontroversial.” CTIA, 854 F.3d at 1117.

 3
              4.   AB 587’s does not “lend itself to government
 4                 coercion”
 5        Finally, Plaintiff argues that strict scrutiny should apply

 6   to AB 587 because the bill “lends itself to impermissible

 7   government coercion” as a result of a post-enactment letter from

 8   the Attorney General, together with his routine investigatory

 9   powers and role in enforcing AB 587 in court.           Mtn. at 59-60.
10        First, Plaintiff does not accurately represent the letter
11   from the Attorney General.       The letter was sent to five of the
12   largest social media companies, including Plaintiff, shortly
13   before the November 2022 mid-term elections.          Exh. 1 to Fernandez
14   Dec., ECF No. 18-3, at 1-2.        Its legitimate purpose was to
15   encourage the companies to take steps to “stop the spread of
16   disinformation and misinformation that attack the integrity of
17   our electoral processes.”       Id. at 2.    The Attorney General sent
18   this message in his role as the state official in charge of
19   protecting Californians’ right to vote and out of concern for
20   widespread online election misinformation that deters and

21   disenfranchises voters.      Id.    The eight-page letter briefly

22   mentions AB 587 only once, and even then only as one of the

23   state’s numerous laws that protect voters from disenfranchisement

24   and election disinformation.        Id. at 4.   The letter then

25   rightfully states that the Attorney General will enforce all of

26   these laws.    Id.   Nowhere does the letter state that AB 587 would

27   be enforced beyond the scope of its facial disclosure

28   requirements.     The letter does not constitute any attempt to
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 1   coerce Plaintiff to take any action related to AB 587 beyond

 2   those requirements, as even Plaintiff appears to concede.             Mtn.

 3   at 59 (“AG Bonta has ‘made clear’ that X Corp. will ‘suffer

 4   adverse consequences’ if it ‘fail[s] to comply’ with AB 587’s

 5   disclosure requirements” (emphasis added) (quoting letter).

 6        Second, AB 587 does not confer on the Attorney General

 7   improper coercive powers merely because the Attorney General has

 8   general subpoena and investigatory powers and the power to

 9   initially determine when a social media platform as made a
10   “reasonable, good faith attempt to comply” with AB 587’s
11   disclosure obligations.      (Cal. Bus. & Prof. Code §
12   22678(a)(2)(C)) ; see Mtn. at 59-60.         With respect to those
13   powers, AB 587 is no different than any other valid state statute
14   that the Attorney General enforces.         As explained above, the
15   subpoena and investigatory powers arise from the California
16   Government Code and are general powers attendant to the office.
17   Cal. Gov. Code § 11180; see also Mtn. at 40.          Similarly, it is
18   normal for the Attorney General to preliminarily determine that a
19   statute has been violated before initiating a court action for a
20   trier of fact to adjudicate the dispute and assess any

21   appropriate penalties.

22        AB 587 does not give rise to any improper government coercion

23   and is not subject to strict scrutiny.

24            5.   In any event, AB 587 satisfies strict scrutiny
25        Even if AB 587 were subject to strict scrutiny, it would

26   satisfy that level of review because it serves a compelling state

27   interest and is narrowly tailored.        See Reed, 576 U.S. at 171.

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 1        First, AB 587 serves a compelling interest—empowering the 70%

 2   of adults that use social media with information to allow them to

 3   navigate among the disinformation, threats, and hate speech that

 4   inevitably appears on social media platforms.           This ability is

 5   essential to maintain an informed, enfranchised, and safe

 6   populace.    Electoral integrity and public safety are compelling

 7   state interests.     See Chula Vista Citizens for Jobs & Fair

 8   Competition v. Norris, 782 F.3d 520, 538 (9th Cir. 2015) (holding

 9   that state’s interest in electoral integrity, including
10   combatting fraud and promoting transparency and accountability,
11   was “undoubtedly important”); Schall v. Martin, 467 U.S. 253, 264
12   (1984) (“protecting the community from crime” is a compelling
13   state interest);
14   Harbor Missionary Church Corp. v. City of San Buenaventura, 642
15   F. App'x 726, 730 (9th Cir. 2016) (The district court did not err
16   in finding that the City had a compelling interest in promoting
17   public safety and in preventing crime”).
18        Second, AB 587 is also narrowly tailored.          The law is
19   minimally burdensome on social media companies.           Unlike the
20   challenged laws in Netchoice (Fla.) and Netchoice (Tex.), AB 587

21   does nothing that regulates the speech content—by either users or

22   the companies—on the social media platforms.          Companies may

23   regulate the content however they see fit.          AB 587 merely

24   requires the companies to disclose their existing terms of

25   service and certain information about the manner in which they

26   currently moderate content.

27        Plaintiff offers three proposals for how AB 587 could be more

28   narrowly-tailored.     Mtn. at 63.    None would be sufficient to
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 1   serve the state’s compelling interest here.          First, the law

 2   cannot effectively apply only to companies “that do not disclose

 3   how content is moderated at all,” id., because this would set no

 4   minimum bar for the information that is disclosed to the public.

 5   Companies could disclose the bare minimum of information that is

 6   entirely useless to the public.        Second, the law would not

 7   sufficiently serve its compelling purpose without its use of

 8   specific categories of conduct.        See id.    The subjects are

 9   commonly used in content moderation and provide points of
10   comparison across platforms for the public.          Third, AB 587
11   already satisfies Plaintiff’s final proposal for narrow
12   tailoring, because the law already does not “require [social
13   media companies] to take positions on specific categories of
14   controversial speech.”      See supra at p. 11; see Cal. Bus. & Prof.
15   Code §§ 22676, 22677.
16        Thus, while strict scrutiny does not apply to AB 587, the law
17   satisfies that level of review.
18   II. PLAINTIFF HAS NOT SHOWN A LIKELIHOOD OF SUCCESS BECAUSE THE AB 587
         IS NOT PREEMPTED BY SECTION 230 OF THE COMMUNICATIONS DECENCY ACT
19
20        The Communications Decency Act of 1996 (“CDA”), 47 U.S.C.

21   § 230, provides internet companies with immunity from certain

22   claims to further its policy “to promote the continued

23   development of the Internet and other interactive computer

24   services.”    Id. § 230(b)(1).     Construing this immunity broadly,

25   Plaintiff argues that AB 587’s reporting requirements are in

26   conflict with, and thus preempted by, the CDA’s protections

27   against liability for hosting “objectionable” third-party content

28   on Plaintiff’s platform.      Mtn. at 71.     Alternatively, Plaintiff
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 1   contends that AB 587 is inconsistent with the CDA’s express

 2   preemption provisions.      Plaintiff cannot prevail on the merits of

 3   its preemption claim under either theory.

 4        A.   Section 230 Does Not Conflict-Preempt AB 587

 5         Section 230 of the CDA “protects certain internet-based

 6   actors from certain kinds of lawsuits.”         Barnes v. Yahoo!, Inc.,

 7   570 F.3d 1096, 1099 (9th Cir. 2009).         In enacting section 230,

 8   Congress intended to serve “two parallel goals,” id. at 1099:

 9   First, to “promote the free exchange of information and ideas
10   over the Internet,” Carafano v. Metrosplash.com, Inc., 339 F.3d
11   1119, 1122 (9th Cir. 2003), and second, to “encourage voluntary
12   monitoring for offensive or obscene material,” id.            But section
13   230 is “not meant to create a lawless no-man’s-land on the
14   Internet.”    Doe v. Internet Brands, 824 F.3d 846, 852-53 (9th
15   Cir. 2016); Fair Hous. Council of San Fernando Valley v.
16   Roommates.com, 521 F.3d 1157, 1163 (9th Cir. 2008).            It does not
17   declare “a general immunity from liability” broadly relating to
18   third-party content.      Internet Brands, 824 F.3d at 852 (quoting
19   Barnes, 570 F.3d at 1100); accord City of Chicago, Ill. v.
20   StubHub!, Inc., 624 F.3d 363, 366 (7th Cir. 2010).            Rather, the

21   statute’s protections must be limited to “its narrow language and

22   its purpose.”     Internet Brands, 824 F.3d at 853.        And as the

23   Ninth Circuit has repeatedly cautioned, courts “must be careful

24   not to exceed the scope of the immunity provided by Congress.”

25   Id. at 853 (quoting Roommates.com, 521 F.3d at 1164 n.15).

26         Plaintiff bases its conflict preemption challenge on section

27   230(c)(2)(A) of the CDA, Mtn. at 71, which states that “[n]o

28   provider or user of an interactive computer service shall be held
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 1   liable on account of . . . any action voluntarily taken in good

 2   faith to restrict access to or availability of material that the

 3   provider or user considers to be obscene, lewd, lascivious,

 4   filthy, excessively violent, harassing, or otherwise

 5   objectionable, whether or not such material is constitutionally

 6   protected.”     Id. § 230(c)(2)(A).

 7   AB 587 regulates Plaintiff’s activities in accordance with
 8   section 230’s limits.      It penalizes only the failure to post the
 9   platform’s terms of service, Cal. Bus. & Prof. Code
10   § 22678(a)(2)(A), the failure to timely submit the required,
11   semiannual terms of service report, id. § (a)(2)(B), and the
12   material omission or misrepresentation of required information in
13   a report, id. § (a)(2)(C).
14         Plaintiff contends that AB 587 conflicts with section
15   230(c)(2)(A) because it creates a civil penalty for platforms
16   that “take actions in good faith to restrict access to content as
17   described in 230(c)(2) without making AB 587’s required
18   disclosures.”     Mtn. at 70.    AB 587’s plain terms do not support
19   this construction, which is premised upon a faulty assumption
20   that a platform cannot both comply with AB 587’s reporting
21   requirement while also enforcing its independent content-
22   moderation policies.      AB 587 does not require social media
23   platforms to restrict access to content or take any other actions
24   to moderate content.      It merely requires certain platforms to
25   make timely informational disclosures about their actual and
26   existing terms of service and content-moderation practices.             See
27   HomeAway.com v. City of Santa Monica, 918 F.3d 676 (9th Cir.
28
                                          40
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 1   2019) (finding section 230 did not preempt ordinance prohibiting

 2   short-term home rentals; although ordinance required platforms to

 3   confirm the host’s eligibility before permitting rental, it

 4   “creates no obligation on [platforms’] part to monitor, edit,

 5   withdraw or block the content supplied by hosts).11

 6         Plaintiff also argues that section 230(c)(2)(A) conflicts
 7   with AB 578’s penalty for material omissions or
 8   misrepresentations in the semiannual terms of service report,
 9   Cal. Bus. & Prof. Code § 22678(a)(2)(C), which Plaintiff claims
10   gives the Attorney General “unfettered discretion” to punish
11   Plaintiff should the Attorney General find that Plaintiff has
12   restricted access to content in a manner inconsistent with its
13   own policies.     Mtn. at 70.    This argument misunderstands both AB
14   587’s requirements and the Attorney General’s role.            Nothing in
15   AB 587 gives the Attorney General authority to penalize social
16   media platforms based on the provisions of their terms of service
17   or how platforms choose to enforce (or not enforce) those terms.
18   Further, none of the topics of the terms of service report
19   requires Plaintiff to disclose particular instances of content
20   moderation, including the underlying content itself or any action
21   taken by Plaintiff in response to it.         Instead, the report covers
22   general disclosures about what mechanisms the platform uses to
23   moderate content, Cal. Bus. & Prof. Code § 22677(a)(4), as well
     as aggregated statistical information about the number of times
24
           11Under Plaintiff’s logic, section 230 could arguably conflict-preempt
25   virtually any state law. A state law penalizing the failure to pay income tax
     could be preempted by section 230 because it creates a civil penalty for
26   social media platforms that “take actions in good faith to restrict access to
     content as described in 230(c)(2),” Mtn. at 70, without paying state income
27   tax. In actuality, the tax law only penalizes non-payment of taxes, just as
     here, AB 587 penalizes only non-compliance with its disclosure requirements.
28
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 1   the platform flagged or took action on third-party content during

 2   the reporting period, id. § 22677(a)(5).          No penalty can be

 3   imposed against Plaintiff under AB 587 for making these

 4   disclosures unless its report is untimely or contains material

 5   omissions or misstatements.       Id. § 22678(a)(2)(B), (C).         And, as

 6   previously explained, any discretion over whether to impose a

 7   penalty for a material omission or misrepresentation in the

 8   report rests with the reviewing court, not the Attorney General.

 9   Id. § 22678(a)(1), (3).      Thus, AB 587 poses no obstacle to
10   compliance with section 230(c)(2).
11         Accordingly, AB 587 creates no liability for Plaintiff based
12   on how it moderates third-party content on its site, steering
13   clear of any conflict with section 230(c)(2).12
14        B.    Section 230 Does Not Expressly Preempt AB 587
15         For similar reasons, Plaintiff cannot prevail on its
16   argument that the CDA expressly preempts AB 587’s disclosure
17   requirements.     Under the CDA’s express preemption provision,
18   “[n]othing in this section shall be construed to prevent any
19   State from enforcing any State law that is consistent with this
20   section.    No cause of action may be brought and no liability may
21   be imposed under any State or local law that is inconsistent with
22   this section.”     47 U.S.C. § 230(e)(3).      As explained above, AB
23   587’s penalty provisions are not inconsistent with section
24         12 Further, because AB 587’s penalties are not tied to whether Plaintiff

     engages in content moderation, Plaintiff’s argument that the thread of
25   sanction under AB 587 effectively forces it to moderate content is unavailing.
     See Mtn. at 72. HomeAway.com recognizes a clear distinction between
26   monitoring third-party content for the purpose of complying with a regulation,
     which does not offend the CDA, and moderating that content, i.e., determining
27   the extent to which it can be or remain published. 918 F.3d at 682-83. In
     the former case, the platform’s “choice to remove [noncompliant] listings is
28   insufficient to implicate the CDA.” Id. at 683.
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 1   230(c)(2) because they do not require Plaintiff to engage in

 2   content moderation, and they do not impose liability for

 3   Plaintiff’s particular content-moderation decisions.

 4         When analyzing express preemption claims, courts “assume
 5   federal law was not intended to supersede the states’ historic
 6   police powers ‘unless that was the clear and manifest purpose of
 7   Congress.’”    Arellano v. Clark County Collection Service, LLC,
 8   875 F.3d 1213, 1216 (9th Cir. 2017).         Thus, courts “read even
 9   express preemption provisions narrowly,” using as the “ultimate
10   touchstone” the actual purpose of Congress.          Id. at 1216-17.
11         Contrary to Plaintiff’s arguments, Congress’s purpose in
12   enacting section 230 was not to preempt disclosure laws like AB
13   587 that impose no requirement to moderate content published on
14   the site.     As noted above, Congress sought to “encourage
15   voluntary monitoring for offensive or obscene material,”
16   Carafano, 339 F.3d at 1122.       This concern is reflected in section
17   230(c)’s title, “Protection for ‘Good Samaritan’ blocking and
18   screening of offensive material,” which highlights Congressional
19   intent to allow and encourage online providers to act voluntarily
20   as publishers without fear of liability when they take steps to
21   ferret out defamatory or otherwise unlawful speech.
22   Roommates.com, 521 F.3d at 1163-64.         AB 587’s disclosure
23   requirements serve this interest, giving platforms that
24   voluntarily engage in content moderation an opportunity to share
25   with consumers the general steps they take to moderate
26   objectionable content, without requiring them to divulge
27   particular content moderation decisions or imposing any penalty
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 1   for their action or inaction on specific content.

 2         Because AB 587’s limited penalty provisions are not
 3   inconsistent with section 230(c)(2) immunity, Plaintiff cannot
 4   establish any likelihood of success on the merits of its
 5   preemption claim.
 6
     III. PLAINTIFF HAS FAILED TO ESTABLISH THE REMAINING WINTER FACTORS
 7       NECESSARY FOR A PRELIMINARY INJUNCTION
 8        Even if Plaintiff had demonstrated a likelihood of success on
 9   the merits as to any claim, it would still need to show that it
10   would suffer irreparable harm absent a preliminary injunction,
11   and that the balance of the equities and public interest favor a
12   preliminary injunction.       See Winter, 555 U.S. at 20.        Plaintiff
13   has established none of these.
14        As Plaintiffs point out, the loss of First Amendment freedoms
15   does constitute “irreparable harm” for purposes of seeking
16   injunctive relief.      See Mtn. at 74-75.      But as demonstrated
17   above, AB 587 does not unconstitutionally burden Plaintiff’s
18   First Amendment rights.       And, Plaintiff has not argued or shown
19   that it will suffer any other irreparable harm absent preliminary
20   injunctive relief.13     Plaintiff has therefore failed to establish
21   this essential Winter factor.
22        Plaintiff also has not and cannot show that the balance of
23   the equities and the public interest weigh in its favor.              The
24   public interest favors prompt transparency by social media
25   platforms so that consumers can make informed decisions about
26   where they consume and disseminate news and information.              And,
27         13 Plaintiff does not argue that a finding by this Court that AB 587

     likely violates the Supremacy Clause would suffice to establish irreparable
28   harm.
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 1   because AB 587 requires only that large social media platforms

 2   merely disclose their actual terms of service and content

 3   moderation policies and practices, its burden on them is minimal.

 4   Moreover, any potential need for a preliminary injunction pending

 5   final judgment is due largely to Plaintiff’s lack of diligence in

 6   bringing this litigation.       After AB 587, Plaintiff waited for

 7   nearly one year before filing the complaint and more than one

 8   year before moving for a preliminary injunction.           See ECF Nos. 1,

 9   18.    Had Plaintiff acted with diligence, it would have likely
10   mitigated any need for preliminary, hurried relief.
11         The remaining Winter factors therefore favor denial of the
12   requested preliminary injunction.
13                                   CONCLUSION
14         For the reasons above, the Court should deny Plaintiff’s
15   motion for preliminary injunction.
16   Dated:   October 27, 2023                 Respectfully submitted,
17                                             ROB BONTA
                                               Attorney General of California
18                                             ANTHONY R. HAKL
                                               Supervising Deputy Attorney
19                                             General
20

21
                                               /s/ Gabrielle D. Boutin
22                                             GABRIELLE D. BOUTIN
                                               Deputy Attorney General
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24                                             his official capacity
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